                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE

 NOEL, VONDA, On Behalf of HERSELF                 )
 and All Others Similarly Situated,                )
                                                   )
        Plaintiff,                                 )       CLASS AND COLLECTIVE
                                                   )       ACTION
 v.                                                )
                                                   )       CASE NO. 3:11-cv-519
 METROPOLITAN GOVERNMENT OF                        )
 NASHVILLE AND DAVIDSON                            )       JUDGE SHARP
 COUNTY, TENNESSEE,                                )       MAGISTRATE JUDGE KNOWLES
                                                   )
        Defendant.                                 )
                                                   )
                                                   )

             SUPPLEMENTAL DECLARATION OF DAVID W. GARRISON

       I, David W. Garrison, under penalty of perjury and pursuant to 28 U.S.C. § 1746, do hereby

declare as follows:

       1.      I am a partner of the law firm of Barrett Johnston Martin & Garrison, LLC (“BJMG”)

that was appointed by the Court as Class Counsel to represent Plaintiff Vonda Noel (“Plaintiff” or

“Ms. Noel”) and the Rule 23 certified class in this matter. (Doc. No 139). I have personal

knowledge of the matters set forth herein based on my active supervision and participation in the

prosecution and resolution of this action.

       2.      I submit this supplemental declaration in support of Plaintiff’s motion for final

approval of settlement and Class Counsel’s application for an award of attorneys’ fees and expenses.

More specifically, I submit this declaration as to the reasonableness of the requested service awards

and in further support of Class Counsel’s Fee Request.




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        A.      The Significant Time and Energy Devoted by the Named Plaintiffs
                and Participating Plaintiff Class Members

        3.      Plaintiff and Class Counsel are requesting that this Court award the following in

service payments:

        •       $10,000 to Named Plaintiff Vonda Noel;

        •       $2,500 to former Named Plaintiff Michael Murphy;

        •       $1,000 each to DeQuan Adams, Willie Anderson, Jr., Curtis Barnes, Adam Boyd,
                Keith Brown, Careese Cannon, Vincent Carr, Xaviere Cunningham, Geoffrey
                Hampton, Shaun Hennekam, Michael Hunter, Tonya Lawrence, LeRonce Mitchell,
                Micah Nowack, Antoine Smith, Deidre Taylor, Tanisha Wells, Warren Wilke and
                Adrean Williams.

        4.      Each of these Named Plaintiffs and participating plaintiff Class Members spent

significant time and energy to ensure that this class action succeeded through discovery, extensive

briefing, trial, and mediation.

        5.      Vonda Noel has served as a Named Plaintiff in this class action litigation for more

than four years, since August 20, 2012. (Doc. No. 111). As a current employee of Defendant for

most of that time period, Ms. Noel took on significant personal sacrifice to ensure that this class

action succeeded. Ms. Noel participated in lengthy meetings with Class Counsel on nearly a dozen

occasions. She gave a deposition in the case, offered a detailed declaration in support of class

certification in the FLSA action, and represented the class at the jury trial of this matter, which lasted

for more than a week. In addition, Ms. Noel represented the class in three lengthy mediations with

three different mediators – each one lasting all or most of one of her week days. Class Counsel’s

billing records indicate that Ms. Noel spent more than 83 hours in activities associated with this

litigation – records which could not possibly capture all of the time Ms. Noel spent on this matter in

her role as Named Plaintiff. This class action certainly would not have succeeded through trial and

to an outstanding settlement without Ms. Noel’s service in the role of Named Plaintiff.


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        6.      Michael Murphy was the initial Named Plaintiff, serving in that role from June 2,

2011, when this action was filed, to August 28, 2012. Mr. Murphy was unable to serve as Named

Plaintiff because he moved out of state, and was no longer able to fulfill the time-consuming role of

Named Plaintiff in this action. While he was a Named Plaintiff, Mr. Murphy met with Class Counsel

on several occasions, and provided the information necessary to commence this litigation. Mr.

Murphy provided deposition testimony, responded to significant written discovery, and provided a

declaration in support of a motion for conditional class certification. Class Counsel’s billing records

indicate that Mr. Murphy spent more that 13 hours of recorded time on tasks associated with this

litigation, though these records do not capture all of the time Mr. Murphy in his role as Named

Plaintiff in this matter.

        7.      DeQuan Adams, Willie Anderson, Jr., Curtis Barnes, Adam Boyd, Keith Brown,

Careese Cannon, Vincent Carr, Xaviere Cunningham, Geoffrey Hampton, Shaun Hennekam,

Michael Hunter, Tonya Lawrence, LeRonce Mitchell, Micah Nowack, Antoine Smith, Deidre

Taylor, Tanisha Wells, Warren Wilke, and Adrean Williams all assumed significant roles in and

spent considerable time on the advancement of this litigation. Class Counsel’s billing records

indicate that these participating class members spent the following hours in their efforts to advance

this litigation, through giving depositions, responding to written discovery, offering declarations,

and/or participating in trial: Mr. Adams = 9.5; Mr. Anderson = 4.4; Mr. Barnes = 4.8; Mr. Boyd =

11.3; Mr. Brown = 6.1; Ms. Cannon = 5.2; Mr. Carr = 5.1; Ms. Cunningham = 8; Mr. Hampton =

4.2; Ms. Hennekam = 8; Mr. Hunter = 6.4; Ms. Lawrence = 4.9; Mr. Mitchell = 4.6; Mr. Nowack =

3.8; Mr. Smith = 2.3; Ms. Taylor = 3.8; Ms. Wells = 4.5; Mr. Wilke = 9.9; and Mr. Williams = 6. Of

course, these billing records could not possibly capture all of the time these participating Class

Members spent on this litigation. They all provided depositions and responded to significant written

discovery. Mr. Boyd, Ms. Cunningham, and Mr. Wilke each testified at the jury trial of this matter.

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Mr. Adams and Ms. Hennekam attended trial, and were prepared to testify, though they were not

called as witnesses. Mr. Carr, Ms. Taylor, and Ms. Wells each offered critical declarations in

support of the motion for conditional certification of the FLSA class.             In summary, these

participating plaintiff class members spent considerable time and energy on the advancement of this

litigation, ensuring its success.

        B.      Class Counsel’s Extensive Work in this Action

        8.      Class Counsel undertook this litigation on a contingency fee basis. During the past

five-plus years of litigating this case, Class Counsel have not been paid for any of the work that they

have performed. This uncompensated work has been substantial, and achieved outstanding results.

        9.      The unpaid work related just to the Rule 23 Settlement in this matter (not including

work related to the FLSA claims in this action), to date, includes: (1) interviewing witnesses and

selecting class representatives or named plaintiffs; (2) amending the complaint to add the Rule 23

claims as well as amending the complaint to more narrowly tailor these claims; (3) defeating

Defendant’s Response in Opposition to Plaintiffs’ Motion for Leave to File Second Amended

Complaint, adding the Rule 23 claims (Doc. No. 110); (4) obtaining class action certification; (5)

preparing and overseeing notice on to approximately one thousand class members; (6) engaging in

extensive written discovery; (7) reviewing thousands of pages of documents; (8) preparing for and

defending more than 30 depositions; (9) preparing for and taking multiple Rule(30)(b)(6)

depositions; (10) engaging in a vigorous motions practice, including discovery motions and motions

for summary judgment; (11) all trial preparation work, including drafting and exchanging jury

instructions, witness lists, exhibit lists, motions in limine, verdict forms, and damages briefs; (12)

leading the jury trial of this matter for more than a week, culminating in a verdict in the Class’s favor

finding that the Defendant was unjustly enriched as a result of engaging in the challenged pay

practice; (13) leading the months-long negotiations, including formal mediation, following trial; (14)

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Supplemental Declaration of
David W. Garrison was filed electronically with the Clerk’s office by using the CM/ECF system and
was served electronically upon the following on September 6, 2016:

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                                                /s/ David W. Garrison
                                                DAVID W. GARRISON
                                                BARRETT JOHNSTON
                                                    MARTIN & GARRISON, LLC




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